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                 4                                 UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7     UNITED STATES OF AMERICA,                                 Case No. 2:03-CR-176 JCM
                 8                                             Plaintiff(s),                       ORDER
                 9             v.
               10      IVAN GONZALEZ-CORPORAN, et al.,
               11                                           Defendant(s).
               12
               13             Presently before the court is United States v. Gonzales-Corporan, case no. 2:03-cr-00176-
               14     JCM. Ivan Gonzales-Corporan (“petitioner”) filed a motion to vacate, set aside, or correct sentence
               15     pursuant to 28 U.S.C. § 2255 based upon the application of Johnson v. United States, 135 S. Ct.
               16     2551 (2015), to his sentence. (ECF No. 159).
               17             Briefing shall proceed as follows: respondent has thirty (30) days from the date of this
               18     order to file a response. Thereafter, petitioner has thirty (30) days to file a reply.
               19             Accordingly,
               20             IT IS HEREBY ORDERED that respondent shall file a response to petitioner’s motion to
               21     vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (ECF No. 159) no later than
               22     thirty (30) days from the date of this order. Petitioner shall file a reply within thirty (30) days
               23     thereafter.
               24             DATED September 7, 2016.
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               26                                                     UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
